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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
LEGENDS TRUST
paul chavez grantor/owner and
only real party in interest,
Plaintiff,
Vv. No. 1:21-cv-01006-KG-JFR

ERIN O'CONNELL, in her capacity as a
Second District Court Judge for
the State of New Mexico,
Defendant.
FINAL JUDGMENT
Pursuant to Fed. R. Civ. P. 58(a), and consistent with the Court’s Memorandum Opinion

and Order dismissing Plaintiff's case,

IT IS ORDERED that this case is DISMISSED without prejudice.

 
